      Case 8:20-cv-01320-TDC         Document 157        Filed 05/11/21     Page 1 of 3



                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


 AMERICAN COLLEGE OF
 OBSTETRICIANS AND
 GYNECOLOGISTS, et al.,
                                                   CIV. NO. 20-1320-TDC
                      Plaintiffs,
                                                   PLAINTIFFS’ NOTICE OF
               vs.                                 VOLUNTARY DISMISSAL
                                                   WITHOUT PREJUDICE
 UNITED STATES FOOD AND DRUG
 ADMINISTRATION, et al.,

                      Defendants.


       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), and in the absence of an answer or motion for

summary judgment by Defendants, see Dkt. 153, Plaintiffs hereby dismiss without prejudice the

above-captioned action.




                                               1
     Case 8:20-cv-01320-TDC    Document 157         Filed 05/11/21     Page 2 of 3



Dated: May 11, 2021

                                             Respectfully submitted,

/s/ Julia Kaye                               /s/ John A. Freedman

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                                         2
       Case 8:20-cv-01320-TDC        Document 157       Filed 05/11/21     Page 3 of 3



                                CERTIFICATE OF SERVICE

       I hereby certify that this document will be served on the Defendants in accordance with

Fed. R. Civ. P. 5.



                                           /s/ John A. Freedman
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